                                                                   ORDERED.


                                                                   Dated: August 21, 2014
       Josephine E. Salmon (SBN 020630)
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       Phil J. Giles (SBN 030340)
   2   pgiles@piteduncan.com
       PITE DUNCAN, LLP
   3   4375 Jutland Drive, Suite 200                               Eileen W. Hollowell, Bankruptcy Judge
       P.O. Box 17933                                              _________________________________
   4   San Diego, CA 92177-0933
       Telephone: (858) 750-7600
   5   Facsimile: (619) 590-1385
   6   Attorneys for CitiMortgage, Inc., Wells Fargo Bank,
       N.A., Rushmore Loan Management Services, LLC,
   7   as servicing agent for U.S. Bank National
       Association, not in its individual capacity but solely
   8   as Trustee for RMAC Trust, Series 2013-3T, and
       Ocwen Loan Servicing, LLC
   9

  10                               UNITED STATES BANKRUPTCY COURT
  11                                       DISTRICT OF ARIZONA
  12    In re                                              Case No. 4:10-bk-03640-EWH
  13    DEED AND NOTE TRADERS, L.L.C.,                     Chapter 11
  14                     Debtor.                           ORDER RE: DEBTOR’S SECOND
                                                           MOTION FOR ENTRY OF ORDER
  15                                                       DIRECTING SECURED LENDERS TO
                                                           COMPLY WITH THE DEBTOR’S
  16                                                       CONFIRMED PLAN
  17
                                                           HEARING:
  18                                                       Date: July 10, 2014
                                                           Time: 10:00
  19                                                       Ctrm: 329
  20
                 The above-captioned matter came on for hearing on July 10, 2014, in the Courtroom of
  21
       the Honorable Eileen W. Hollowell.
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                 Appearances as noted on the record.
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                 Based on the arguments of counsel, the record before the court, and good cause appearing
  24
       therefor,
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               ORDER RE: DEBTOR’S SECOND MOTION FOR ENTRY OF ORDER DIRECTING SECURED
                  LENDERS TO COMPLY WITH THE DEBTOR’S CONFIRMED CHAPTER 11 PLAN
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    1          IT IS HEREBY ORDERED:

    2          1.       Debtor’s Second Motion for Entry of Order Directing Secured Lenders to Comply

    3   with Debtor’s Confirmed Plan is hereby dismissed as it pertains to the following Creditors as

    4   they are fully compliant with Debtor’s confirmed Chapter 11 Plan.

    5                 Creditor                   Property Address                Loan Number
    6          CitiMortgage, Inc.             5233 South Hampton Rd.,             ******5793
    7                                               Tucson, AZ
    8          CitiMortgage, Inc.             15677 East Marsh Station            ******3665
    9                                              Road, Vail, AZ
   10          CitiMortgage, Inc.             4155 East Market Street,            ******2280
   11                                               Tucson, AZ
   12       Wells Fargo Bank, N.A.           3125 E 28th St, Tucson, AZ           ******8067
   13                                                  85713
   14    Rushmore Loan Management           117 N Understory Ln, Tucson,          ******2032
   15               Services, LLC                    AZ 85748
   16     Ocwen Loan Servicing, LLC         1587 W. San Ricardo, Tucson           ******3517
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            ORDER RE: DEBTOR’S SECOND MOTION FOR ENTRY OF ORDER DIRECTING SECURED
               LENDERS TO COMPLY WITH THE DEBTOR’S CONFIRMED CHAPTER 11 PLAN
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